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 1                              UNITED STATES DISTRICT COURT

 2                                      DISTRICT OF NEVADA

 3 DONALD E. MORISKY,                                        Case No.: 2:20-cv-00964-APG-VCF

 4           Plaintiff                                     Order for Stipulation of Dismissal or
                                                                      Status Report
 5 v.

 6 MMAS RESEARCH, LLC, et al.,

 7           Defendants

 8         On September 2, 2020, the parties advised the court they had reached a settlement and

 9 would file a stipulation of dismissal or status report by September 25, 2020. ECF No. 8. The

10 parties have not done so.

11         I THEREFORE ORDER that by October 23, 2020, the parties shall file a stipulation of

12 dismissal or status report. The failure to do so will result in dismissal of this case.

13         DATED this 2nd day of October, 2020.

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                                                          ANDREW P. GORDON
                                                          UNITED STATES DISTRICT JUDGE
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